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                      IN THE UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF PENNSYLVANIA



DENISE M. HENNING, CPA LLC, individually
and on behalf of all others similarly situated,
                                                  Civil Action No. 2:20-cv-00905-WSS
              Plaintiff,
       v.                                         Judge William S. Stickman

THE PNC FINANCIAL SERVICES GROUP,
INC.; and PNC BANK, N.A.,

              Defendants.




 PLAINTIFF’S OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS THE FIRST
                 AMENDED CLASS ACTION COMPLAINT
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                                         INTRODUCTION

         This case involves an historic emergency relief effort—the Paycheck Protection Program

(PPP)—that accomplished its purpose in part because of the hard work of agents like Plaintiff who

shepherded their small business clients through the PPP loan process. The clients (“borrowers”)

had to do a great deal very quickly to obtain the much-needed loans: understand the contours of

the program, pull together payroll and other financial data, choose a lender, and submit an

application—while knowing that the limited loan money would be disbursed on a first-come, first-

served basis. For this, many had to rely on their agents. The lender Defendants, in comparison,

acted as middlemen, lending the taxpayers’ money at no risk to themselves, and received generous

compensation in the form of origination fees. The question presented here is whether the lenders

must share a percentage of those fees with the agents as required by the statute and its

implementing regulations.

         In enacting the PPP, Congress anticipated that borrowers would seek assistance from their

accountants, financial advisors, and other similar agents, and that such agents would be

compensated for their services. The statute itself says so: “An agent that assists an eligible recipient

to prepare an application for a covered loan may not collect a fee in excess of the limits established

by the [SBA].” 15 U.S.C. § 636(a)(36)(P)(ii). It would make no sense to limit a fee without an

expectation of a fee in the first place. The SBA agrees, and also was clear as to the source of that

compensation: “Who pays the fee to an agent who assists a borrower? Agent fees will be paid by

the lender out of the fees the lender receives from SBA. Agents may not collect fees from the

borrower or be paid out of the PPP loan proceeds.” SBA Interim Final Rule (“IFR”), 85 Fed. Reg.

20811, 20816 (Apr. 15, 2020) (emphasis added).1



1
    Full title: Business Loan Program Temporary Changes Paycheck Protection Program.
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         Defendants do not challenge either of these key propositions, nor could they given the plain

statutory text and commonsense agency explication. Instead, Defendants’ central contention is not

that agents cannot recover fees at all, but that to do so, agents were required to jump through a

series of administrative hoops applicable to the SBA’s regular small business loan program (known

as “7(a) loans”). This argument assumes that the PPP is a mere extension of the ordinary 7(a)

process and subject to the same terms and conditions.

         That assumption has no foundation. The entire point of the PPP was speed—immediately

saving businesses and jobs from the crushing economic effects of a pandemic. Congress and the

SBA deliberately created a streamlined program that would cut through time-consuming red tape

and release funds as quickly as possible. Defendants’ position—that agent fees should be subject

to regular 7(a) protocols, even though that is nowhere stated in any regulation or guidance—

ignores the many important differences between the two programs and defies common sense.

         Defendants also argue that Plaintiff may not recover agent fees because the CARES Act

did not expressly provide a private right of action for Plaintiff to do so. But it is commonplace for

plaintiffs to bring state-law claims based in whole or in part on federal substantive standards, as

Plaintiff has done here. For these reasons, and because Plaintiff adequately pled its common law

and statutory claims, Defendants’ motion to dismiss should be denied.

                                         BACKGROUND

         A.     The PPP was enacted to provide immediate relief to small businesses.

         The PPP was a life raft crafted by Congress to keep the economy from sinking. Congress

enacted the CARES Act,2 including the PPP, in response to a “crisis [] totally unprecedented in

living memory.” 166 Cong Reg. S2059 (Mar. 25, 2020). The economic fallout of the COVID-19



2
    Coronavirus Aid, Relief, and Economic Security Act, Pub. L. 111-31 (2020).

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pandemic was immediate, enormous, and devastating. FAC at ¶ 26.3 As “stay at home” orders

were issued by states and localities across the nation, businesses were forced to overhaul their

business models, scale back operations dramatically, or shutter—temporarily or permanently. Id.

With the slowdown and closing of businesses came rampant layoffs.

         In response, Congress created the PPP to provide hundreds of billions of dollars in

guaranteed and forgivable loans through the SBA to small businesses to prevent layoffs in the

immediate term. FAC at ¶ 27; see also 166 Cong. Rec. H1819 (Mar. 27, 2020) (Rep. Brady) (“We

focus on preserving businesses to preserve jobs, to get them through these next few weeks.”). The

“intent of the Act” was straightforward: “that SBA provide relief to America’s small businesses

expeditiously,” IFR, 85 Fed. Reg. at 20811; see also FAC at ¶ 29; 166 Cong. Rec. S2060 (Mar.

25, 2020) (Sen. Sullivan) (“[D]eliver rapid relief to small businesses that are being crushed by this

pandemic and having to lay off workers.”). Recognizing the need for “immediate implementation,”

the SBA acted quickly, issuing the IFR a mere two weeks after the President signed the Act and

making it immediately effective. See IFR, 85 Fed. Reg. at 20811 (finding “good cause” to

“dispense with the 30-day delayed effective date provided in the APA”); FAC at ¶¶ 27, 30.

         B.     Congress and the SBA provided that agents would be compensated out of
                lenders’ origination fees.

         It was obvious to Congress and the SBA that borrowers would be very likely to use

agents—accountants, financial advisors, etc.—to assist them in applying for and obtaining PPP

loans. FAC at ¶ 33. The nature of the loans made that inevitable: they were designed to protect

paychecks, and so required proof of how much businesses spent on payroll historically,

information often most readily accessible to businesses’ financial advisors and accountants. Id.




3
    “FAC” refers to the First Amended Class Action Complaint, ECF No. 16.

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Establishing eligibility for a loan required documents “such as payroll processor records, payroll

tax filings, or Form 1099-MISC, or income and expenses from a sole proprietorship.” IFR, 85 Fed.

Reg. at 20812 (setting out most common methodology); see also 15 U.S.C. § 636(a)(36)(E) (tying

loan amount to payroll data). Businesses also had to provide the information quickly, as the loans

were advertised to be disbursed on a first-come, first served basis. FAC at ¶ 31. And for most

borrowers, loans were taken with the expectation of eventual forgiveness, requiring an upfront

understanding of how the money could be used, as well as ongoing accounting. See FAC at ¶¶ 29,

46; 15 U.S.C. § 636(a)(36)(F); IFR, 85 Fed. Reg. at 20813-14.

         Critically, and consistent with the PPP’s mission of providing relief without delay, the SBA

absolved lenders of any obligation to verify the accuracy of the applications. FAC at ¶¶ 2, 8; see

also IFR, 85 Fed. Reg. at 20812. Instead, lenders were permitted “to rely on certifications of the

borrower in order to determine eligibility of the borrower and use of loan proceeds and to rely on

specified documents provided by the borrower to determine qualifying loan amount and eligibility

for loan forgiveness.” Id. This was a dramatic departure from the SBA’s standard 7(a) loan

programs, in which approved lenders are delegated responsibility to make credit approval

determinations. See 13 C.F.R. § 120.150 (setting forth criteria); SBA, Guide to SBA Programs

(Feb. 2013), at 6.4 Under the PPP, by contrast, the onus of ensuring the accuracy of submitted

information was placed squarely on the borrowers. FAC at ¶ 3. Under express penalty of criminal

sanction, including imprisonment up to thirty years, borrowers were required to certify “that the

information provided in this application and the information provided in all supporting documents

and forms is true and accurate in all material respects.” IFR, 85 Fed. Reg. at 20814. This is another

reason why Congress foresaw that small businesses would seek assistance from professional



4
    https://www.sba.gov/sites/default/files/articles/SBA%20101.pdf.

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accountants, tax preparers, and the like before certifying the accuracy of their submissions. FAC

at ¶ 3; see also 15 U.S.C. § 636(a)(36)(P)(iv) (“It is the sense of the Senate that the Administrator

should issue guidance to lenders and agents . . . .”) (emphasis supplied).

       And, understanding that agents would not work for free, but wishing to preserve the

entirety of the loan funds for use in protecting paychecks, Congress expressly provided that “[a]n

agent that assists an eligible recipient to prepare an application for a covered loan may not collect

a fee in excess of the limits established by the Administrator.” 15 U.S.C. § 626(a)(36)(P)(ii); see

also FAC at ¶ 4. Consistent with the statutory mandate, the SBA subsequently clarified that

“[a]gent fees will be paid by the lender out of the fees the lender receives from SBA. Agents may

not collect fees from the borrower or be paid out of the PPP loan proceeds.” IFR, 85 Fed. Reg. at

20816; FAC at ¶ 35; see also SBA, Paycheck Protection Program (PPP) Information Sheet

Lenders,5 at 2 (“How will agents be compensated? Agent fees will be paid out of lender fees.

The lender will pay the agent.”) (emphasis in original). Accordingly, the agency set out a

compensation schedule setting agent fees as a subset of the lender fees, and providing that “[t]he

total amount an agent may collect from the lender for assistance in preparing an application for a

PPP loan . . . may not exceed” specified amounts:

      LOAN SIZE                          LENDER FEE      AGENT FEE
      Up to $350,000                     5%              1%
      Between $350,000 and $2,000,000    3%              .5%
      $2,000,000 or more                 1%              .25%
PPP Information Sheet at 2; see also FAC at ¶ 35. The SBA and the Treasury specifically

determined that these limits are “reasonable based upon the application requirements and the fees

that lenders receive for making PPP loans.” IFR, 85 Fed. Reg. at 20816.



5
 https://home.treasury.gov/system/files/136/PPP%20Lender%20Information%20Fact%20Sheet.
pdf?

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       C.      Plaintiff effectuated the purpose of the PPP by assisting small businesses in
               applying for and obtaining PPP loans.

       Plaintiff is an accountant who assisted small business clients in applying for and obtaining

PPP loans. FAC at ¶¶ 15, 43, 45. Plaintiff guided the submission of its client’s loan application to

Defendants, and submitted its client’s application as an authorized representative of Plaintiff’s

borrower client. Id. at ¶¶ 48-49. To properly assist its clients, Plaintiff spent considerable time and

effort familiarizing itself with the PPP program and related SBA regulations. Id. at ¶ 44. Plaintiff

played a primary role in assisting its clients with their PPP loan applications by, inter alia,

gathering and analyzing its clients’ documents, calculating payroll information needed for the

application, providing and reviewing its clients’ documentation, and reviewing its clients’

applications before filing. Id. at ¶ 46. In short, Plaintiff and the putative class were necessary and

integral to the success of the PPP process.

                                      LEGAL STANDARDS

       To survive a Rule 12(b)(6) motion, the allegations in a complaint must meet a standard of

“plausibility,” which is met “when the plaintiff pleads factual content that allows the court to draw

the reasonable inference that the defendant is liable for the misconduct alleged.” Ashcroft v. Iqbal,

556 U.S. 662, 678 (2009).

                                           ARGUMENT

I.     The PPP Requires Agent Fees Be Paid By Lenders Out of Their Origination Fees.

       A.      Congress and the SBA provided for agent fees.

       Defendants cannot dispute that the PPP provides for agents to receive fees for assisting

borrowers with PPP applications, and that such fees must come, if anywhere, from the fees paid to

lenders. For good reason: The SBA prohibited agents from recovering fees from their clients

(sensibly so, given that such fees would reduce the urgently-needed loan benefits). Accordingly,



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if fees could not be recovered from lenders, then either (1) borrowers would be prohibited from

using agents to assist them with PPP applications or (2) agents would be required to work for free.

Either outcome is absurd and could not be Congress’s intent.

           Given this, Defendants’ focus on whether Congress authorized lenders to pay fees without

a preexisting written compensation agreement is a red herring. Mot. at 12-13. It cannot be disputed

that Congress anticipated such fees expressly in the statute, 15 U.S.C. § 636(a)(36)(P)(ii), and that

the SBA determined that payment should come from lender fees rather than from borrowers, FAC

at ¶ 35.

           Defendants principally rely on two out-of-circuit cases, Sport & Wheat, CPA, PA v.

ServisFirst Bank, Inc., No. 3:20CV5425-TKW-HTC, 2020 WL 4882416 (N.D. Fla. Aug. 17,

2020), and Profiles Inc. v. Bank of Am. Corp., No. SAG-20-0984, 2020 WL 1849710 (D. Md. Apr.

13, 2020), to argue that Plaintiff is not entitled to agent fees.6 Defendants’ reliance on these cases

is unavailing. The Sport & Wheat case is distinguishable because there the plaintiff’s complaint

conceded defendants’ argument that 7(a) procedures must be followed. 2020 WL 4882416 at 3,

n.8 (noting that plaintiff’s complaint alleged that a PPP agent must submit an agreement in writing

on Form 159). Here, Plaintiff makes no such concession. In any event, Plaintiff respectfully

submits the decision is wrongly decided because it ignores the practical reality that banks—like

Defendants—will refuse to work with borrower’s agents in order to keep a larger portion of fees

to themselves and thus forcing borrowers to go it alone or agents to work gratis, rendering PPP

regulations and statutes regarding agent fees a nullity. See, e.g., In re Oxborrow, 913 F.2d 751,



6
  While not raised in argument, in their recitation of the facts, Defendants rely on Treasury
Secretary Steven Mnuchin’s testimony, Mot. at 5. That testimony is “beyond the four corners of”
Plaintiff’s complaint and, therefore, cannot be considered at this stage. McAssey v. Discovery
Mach., Inc., No. 4:16-CV-705, 2018 WL 4016994, at *2 (M.D. Pa. Jan. 12, 2018), report and
recommendation adopted, No. 4:16-CV-00705, 2018 WL 4002991 (M.D. Pa. Aug. 21, 2018).

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754 (9th Cir. 1990) (“[W]e must avoid statutory interpretation that renders any section superfluous

and does not give effect to all of the words used by Congress.”).

       Profiles, Inc., which found no private right of action under the CARES Act—but see infra

at § II.A—is also distinguishable because it dealt with a separate provision of the CARES Act

regarding borrower qualifications, not agent fees. 2020 WL 1849710, at *3. Notably, Defendants

omit that Profiles, Inc. was not a Rule 12(b)(6) motion to dismiss decision, but a decision regarding

the “drastic remed[ies]” of a temporary restraining order and preliminary injunction. Id. at *3.

Consequently, the standard governing the Profiles, Inc. decision is much more rigorous than that

governing a motion to dismiss under Fed. R. Civ. P. 12(b)(6). Compare id. (“Courts should grant

such mandatory preliminary injunctions only when the applicant’s right to relief [is] indisputably

clear.”), with Snatchko v. Peters Twp., No. 2:12-CV-1179, 2012 WL 6761369, at *14 (W.D. Pa.

Dec. 28, 2012) (reasoning that while “a Court may be skeptical that plaintiff can fulfill the

elements,” plaintiff’s allegations are “enough to withstand a motion to dismiss”).

       Defendants also incorrectly argue that interpreting the CARES Act to require the payment

of agent fees would displace common-law principles underpinning contracts. Mot. at 13.

Defendants’ argument ignores the common law principles constituting the third-party beneficiary

principle, see infra § II.B.1. Furthermore, Defendants’ reliance on U.S. v. Texas is unavailing

because there, the Supreme Court merely held that in addition to the United States’ remedies under

the Debt Collection Act, the federal government also possessed a common-law right to collect pre-

judgment interest. 507 U.S. 529, 530 (1993). By contrast, here Defendants cite this case to do the

opposite, i.e., to work a restriction on Plaintiff’s rights to collect agent fees under the CARES Act

and the common law. In fact, the CARES Act and resulting requirement to remit agent fees




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constitute an “affirmative statute” that entitles agents to fees in connection to PPP applications,

and therefore, “does not abrogate the common law.” Wheaton v. Peters, 33 U.S. 591, 691 (1834).

       Finally, Defendants’ assertion that Plaintiff cannot rely on regulations promulgated under

the CARES Act to obtain agent fees is inconsistent with their own reliance on the IFR and the

SBA’s “Frequently Asked Questions” regarding PPP loans “make[] clear” Defendants’ entitlement

to lender fees. Mot. at 6-7, 11. Defendants cannot have it both ways by rejecting the IFR when it

comes to agent fees but relying on it—along with an FAQ—when it comes to lenders’ fees.7

       B.      Agents were not required to comply with regular 7(a) procedures.

       Defendants’ argument is not that agents are never entitled to fees, but that an undisclosed

precondition to such fees was a multi-step process of paperwork and approval where agents first

obtain lenders’ authorization and agreement to pay a specified fee, Mot. at 6, 12. This imagined

process finds no support in the statute or SBA regulations, and is inconsistent with the PPP’s

essential function.

               1.      Defendants are wrong that 7(a) loan procedures apply to the PPP.

       Defendants’ premise that, absent specific directive otherwise, PPP loan applications were

governed by the standard 7(a) loan procedures is wrong. Congress elected to graft the PPP onto

the existing SBA 7(a) loan statute, but with fundamental differences. The SBA properly recognized

that the PPP was a “new loan program” with an urgent mission that required “streamlining the

requirements of the regular 7(a) loan program.” IFR, 85 Fed. Reg. at 20811-12. Accordingly, “[t]he



7
  Defendants also attempt to concoct a conflict between the SBA’s regulations and Congress.
However, the CARES Act and regulations promulgated thereunder are in harmony—“An agent
that assists an eligible recipient to prepare an application for a covered loan may not collect a fee
in excess of the limits established by the [SBA].” 15 U.S.C. § 636(a)(36)(P)(ii). It would make no
sense for Congress to limit a fee without an expectation of a fee in the first place, and the SBA’s
regulation is a “reasonable interpretation” of this statute. Chevron, U.S.A., Inc. v. Nat. Res. Def.
Council, Inc., 467 U.S. 837, 844 (1984).

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program requirements of the PPP identified in this rule temporarily supersede any conflicting Loan

Program Requirement.” Id. at 20812.

         The conflicts between the PPP and standard 7(a) loan programs are legion. For example,

7(a) does not permit the SBA to compensate anyone (lenders or agents) for originating loans, while

the PPP provides for the SBA to pay lender fees. 7(a) requires lenders to pay SBA a guarantee fee;

the PPP does not. 7(a) prohibits agent contingency fees; the PPP requires them. 7(a) does not

require that lenders pay agents out of the fees the lender receives (because there are none), while

the PPP mandates just that. And so on.

         Adopting the full complement of 7(a) procedures would have irredeemably compromised

the PPP’s mission. The SBA’s standard loan program is a regular, ongoing government initiative

replete with red tape and lengthy delays. That may be acceptable during normal times, but is

irreconcilable with the PPP’s “overarching focus on keeping workers paid and employed.” IFR,

85 Fed. Reg. at 20814. For example, the SBA identifies no fewer than fourteen steps a borrower

must complete before receiving a standard 7(a) loan. See SBA, Steps in the Life of an SBA Loan.8

It is widely reported that the process of receiving such a loan is long and arduous. See, e.g. Erica

Seppala, How Long Does It Take To Get An SBA Loan Approved?, Merchant Maverick (Feb. 11,

2020)9 (“With typical lenders, the process of receiving an SBA loan takes up to two or three

months. . . . . The process requires patience; potential borrowers must go through many steps of

paperwork and vetting.”). And application and approval does not mean funds are available—with

standard 7(a) loans, lenders have discretion to delay funding up to two years. See SBA, 7(a) Loan




8
    https://www.sba.gov/content/steps-life-sba-loan.
9
    https://www.merchantmaverick.com/sba-loan-approval-time/.

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Closing Checklist10 (“The Lender may establish its own disbursement schedule as long as all loan

proceeds are disbursed within 24 months after the date of the approval.”).

         Defendants’ position that all 7(a) processes, no matter how time-intensive or hindering of

the PPP’s mission, apply to PPP loans unless Congress expressly provides otherwise is based on a

single sentence in the CARES Act stating: “Except as otherwise provided in this paragraph, the

Administrator may guarantee covered loans under the same terms, conditions, and processes as a

loan made under this subsection.” 15 U.S.C. § 636(a)(36)(B). This murky language does not bear

the weight Defendants would put on it. It refers only to how the SBA “guarantee[s]” PPP loans,

not how the SBA does anything else, including paying fees to lenders or to agents.

                2.      Defendants’ proposed process makes no sense given the purpose of the
                        PPP.

         The PPP was an emergency program in which everyone—the SBA, lenders, agents, and

borrowers—was expected to and did act with incredible alacrity in saving businesses and jobs. But

not according to Defendants. Their theory is that any borrower who wished to use its accountant

to help apply for a loan needed to either convince that accountant to work for free or wait to apply

for a loan until the agent received lenders’ approval to assist PPP loan applicants, and worked out

the fee arrangement. Defendants acknowledge that fees were offered as “inducement for lenders

to participate,” Mot. at 11, but apparently contend that agents required no reciprocal

encouragement and should work for free. It is inconceivable that Congress and the SBA, having

created a deliberately “streamlined” process in response to a national emergency, intended for

agents to wait on a lender’s good graces before assisting their clients—particularly when funding

was limited and offered on a first-come, first-served basis. See IFR 85 Fed. Reg. at 20813.




10
     https://www.sba.gov/node/4950.

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       Defendants’ rule also makes no practical sense. Why would a lender, required to pay any

agent fees out of its own pocket, ever agree to pay a reasonable fee? And, in any event, Defendants

have answered that question categorically: they “would not pay customers’ agents in connection

with PPP loans.” Mot. at 5. Defendants’ outright refusal to pay fees thwarts the CARES Act. The

agents’ only leverage in the negotiation would be the threat that without the agent’s assistance, no

loan application would be made (and so no origination fee for the bank). But there was no shortage

of loan applicants; instead, Congress had to apportion additional funds to meet demand, and even

extend the deadline to apply. If it were delegated to lenders to pre-approve agents’ work, lenders

would be free to simply reject applications that involved agents—a result antithetical to the

purpose of the PPP given that it would punish borrowers for engaging agents.

       Defendants also assert that these procedures are necessary to deter “fraud and abuse,” with

Defendants’ main contention being that a written compensation agreement prevents agents from

“charging inappropriate or unreasonable fees to applicants or lenders.” Mot. at 13. However,

Defendants ignore that Congress and the SBA have already addressed this concern by delineating

how much agents get paid, as well as who pays them. FAC at ¶ 35. The requirement that lenders

pass on a portion of their compensation for offering zero-risk loans to agents who are necessary

for the PPP’s success and speed is hardly “inappropriate.”

II.    Plaintiff’s State-law Claims Are Adequately Pled

       A.      A lack of a federal private right of action under the SBA’s enabling statute
               does not preclude state-law claims.

       Defendants argue that the Small Business Act does not provide a private cause of action.

But that does not preclude common law claims based on Small Business Act regulations. It is well-

established that “[t]he absence of a private right of action from a federal statute provides no reason

to dismiss a claim under a state law just because it refers to or incorporates some element of the



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federal law.” Bukowski v. Wells Fargo Bank, N.A., 757 F. App’x 124, 129 (3d Cir. 2018) (quoting

Wigod v. Wells Fargo Bank, N.A., 673 F.3d 547, 581 (7th Cir. 2012)). So too with the SBA. In

Aardwoolf Corp. v. Nelson Capital Corp., the Second Circuit upheld state law claims asserted by

a small business that required a lender to return the unearned portion of prepaid interest, where

repayment was required by an SBA regulation. 861 F.2d 46, 48 (2d Cir. 1988). The court explained

that although the Small Business Act does not provide a private right of action for a debtor to

recover the interest, “this does not mean that the pertinent Small Business Administration

regulations would have no relevance to a New York court. There is nothing in the Small Business

Act that would prevent a New York court from looking to the Act for standards to apply in

fashioning or applying New York’s own common law.” Id. at 48-49 (citations omitted). Other

circuits have widely recognized this rule as correct. See, e.g., Integrity Mgmt. Int’l, Inc. v. Tombs

& Sons, Inc., 836 F.2d 485, 494-95 (10th Cir. 1987) (finding that Congress did not intend “to

preclude states from using the SBA standards as evidence of violations of the states’ causes of

action for fraud, unjust enrichment, or the like”).11

       Defendants principally rely on two cases to make the false assertion that the absence of a

federally created private right of action also invalidates state law claims. In Astra USA, Inc. v.

Santa Clara County, the Supreme Court held that plaintiffs could not sue on a third-party

beneficiary theory to enforce a requirement under the Public Health Services Act capping the

prices of certain prescription drugs. 563 U.S. 110, 115 (2011). Three facts, none present here, were



11
   See also, e.g., Iconco v. Jensen Constr. Co., 622 F.2d 1291, 1296-99 (8th Cir. 1980) (“Congress
has not forbidden . . . Iowa to use the Small Business Act as a standard in determining whether
Jensen has committed fraud or been unjustly enriched at the expense of Iconco.”); Tectonics, Inc.
v. Castle Constr. Co., 753 F.2d 957, 960-64 (11th Cir. 1985) (“Congress, by enacting the Small
Business Act, did not . . . preclude a state cause of action based upon the Act[.]”); Crandal v. Ball,
Ball & Brosamer, 99 F.3d 907, 910 (9th Cir. 1996) (explaining that even though the Small Business
Act does not “give [plaintiffs] a remedy,” they “already have remedies under . . . state law”).

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critical to the Court’s holding. First, whether a manufacturer had complied with the statutory cap

depended on its “average” and “best” prices, calculation of which “is a complex enterprise

requiring recourse to detailed information about the company’s sales and pricing,” information

submitted confidentially to the government which was not permitted to disclose it. Id. at 115. The

Court explained that had “Congress meant to leave open the prospect of third-party beneficiary

suits . . . . it likely would not have barred the potential suitors from obtaining the very information

necessary to determine whether their asserted rights have been violated.” Id. at 121. Second, the

statute itself provided a specific administrative remedy for overcharge claims. Id. at 115-16, 121-

22. And third, the crucial factual determination at issue—a manufacturer’s “average” and “best”

prices—also was used to set rebate amounts under a wholly separate federal program, creating a

“risk of conflicting adjudications.” Id. at 120 & n.6.

       None of the considerations underlying the holding in Astra exist here. Plaintiff’s claims do

not depend on a complex data analysis requiring confidential information in the government’s

possession. Congress and the SBA laid out a straightforward formula and process for agents to

obtain fees under the PPP. FAC at ¶¶ 35-36. Critically, there is no administrative remedy under

the CARES Act for plaintiffs wrongfully deprived of agent fees. Cf. Silkwood v. Kerr-McGee Corp.,

464 U.S. 238, 251 (1984) (“It is difficult to believe that Congress would, without comment, remove

all means of judicial recourse for those injured by illegal conduct.”). And the PPP agent fee issue

is not connected to other programs.

       Umland v. PLANCO Fin. Servs., Inc., is similarly inapplicable. 542 F.3d 59 (3d Cir. 2008).

There, plaintiff attempted to sue her employer for unlawfully withholding an additional percentage

of plaintiff’s salaries for taxes. Id. at 68. However, Congress explicitly barred lawsuits like

plaintiff’s via statute. Id. Defendants here cannot and do not argue the existence of such a statute.




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Moreover, in Umland, the plaintiff could have availed herself of the IRS’ administrative

procedures. Id. at *66-67. Not so for Plaintiff here.

       B.      Plaintiff adequately alleges common law claims.

               1.      Plaintiff is a third-party beneficiary of both lender agreements and loan
                       contracts which Defendants breached.

       Plaintiff alleges that Defendants entered into agreements with the SBA pursuant to which

Defendants agreed to adhere to all PPP rules and regulations and incorporated those requirements

by reference. E.g., FAC at ¶¶ 73, 74. Plaintiff alleges that Defendants and the SBA “understood

that agents involved in the preparation and submission of PPP loan applications would need to be

compensated.” Id. at ¶ 73. The PPP rules unambiguously required lenders to pay agent fees under

the PPP. Under the contracts between the SBA and the Defendants, the Defendants agreed to

comply with PPP rules. Id. at ¶ 73. By refusing to remit agent fees to Plaintiff, Defendants have

breached this agreement. Id. at ¶ 76.

       The lender agreement is governed by federal common law, “which is informed

by general principles of contract law and by the Restatement (Second) of Contracts.” Pittsburgh

Nat. Bank v. Abdnor, 898 F.2d 334, 338 (3d Cir. 1990); see also Hillside Metro Assocs., LLC v.

JPMorgan Chase Bank, Nat. Ass’n, 747 F.3d 44, 49 (2d Cir. 2014) (citing Dobson v. Hartford

Financial Servs. Group, Inc., 389 F.3d 386 (2d Cir. 2004)). In Dobson, the Second Circuit

recognized that courts may enforce the intention of the parties, taking the circumstances of the

contract’s formatting into account, “despite a lack of express terminology.” 389 F.3d at 399. Here,

it is clear from the contract as a whole that PPP loans are to be made consistent with the entirety

of the PPP program rules, FAC at ¶¶ 73-74, which provide for agent involvement and

compensation. Indeed, due to the extreme “circumstances under which [the contract] was made,”

agent involvement was “indispensable to effectuate the intention of the parties.” Dobson, 389 F.3d



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at 399 (quoting Sacramento Navigation Co. v. Salz, 273 U.S. 326, 329 (1927)). Defendants suggest

there is a more exacting standard for government contracts, but that is only to the extent that

members of the general public are assumed to be only incidental beneficiaries of government

contracts. See Restatement (Second) of Contracts § 313(2) cmt. a (“Government contracts often

benefit the public, but individual members of the public are treated as incidental beneficiaries

unless a different intention is manifested.”).12

       For the same reasons, the Court should sustain the breach of contract claim based on

Plaintiff’s third-party beneficiary status under the specific agreements between Defendants and the

borrower whom Plaintiff assisted. FAC at ¶¶ 78-82. Under Pennsylvania law, which Defendants

argue applies (Mot. at 18), “a beneficiary of a promise is an intended beneficiary if recognition of

a right to performance in the beneficiary is appropriate to effectuate the intention of the parties and

either (a) the performance of the promise will satisfy an obligation of the promisee to pay money

to the beneficiary; or (b) the circumstances indicate that the promisee intends to give the

beneficiary the benefit of the promised performance.” Guy v. Liederbach, 501 Pa. 47, 60, 459 A.2d

744, 751 (Pa. Sup. Ct. 1983) (quoting Restatement (Second) of Contracts § 302)). The contract

need not “expressly state that the third party is intended to be a beneficiary” for a party to qualify

as a third-party beneficiary under the foregoing test. Burks v. Fed. Ins. Co., 2005 PA Super 297, ¶

8, 883 A.2d 1086, 1088 (Pa. Super. Ct. 2005). Thus, Plaintiff qualifies as a third-party beneficiary

under the agreement between Defendants and borrowers as well.

               2.      Defendants were unjustly enriched at Plaintiff’s expense.



12
  Thus, the tests in Medevac MidAtlantic, LLC v. Keystone Mercy Health Plan, 817 F. Supp. 2d
515, 531 (E.D. Pa. 2011) and Liem Duc Nguyen v. U.S. Catholic Conference, 548 F. Supp. 1333,
1349 (W.D. Pa. 1982) are inapplicable. In any event, Plaintiff is no “incidental beneficiary” given
that the CARES Act and SBA regulations promulgated thereunder and expressly incorporated into
the contract confer a direct benefit onto Plaintiff—its agent fees.

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        To prevail on an unjust enrichment claim under Pennsylvania law, a plaintiff must establish

“(1) that [p]laintiff[] conferred a benefit on [d]efendant[]; (2) [d]efendant[] appreciated the benefit;

and (3) acceptance and retention of those benefits by [d]efendant[] would, under the circumstances,

make it inequitable for [d]efendant[] to retain the benefit without paying for the value of the

benefit.” Cesare v. Champion Petfoods USA Inc., 429 F. Supp. 3d 55, 65 (W.D. Pa. 2019). Plaintiff

adequately alleges each element.

        First, Plaintiff conferred a benefit (origination fees) on Defendants. E.g., FAC at ¶¶ 32, 36,

41-42, 53 (Plaintiff’s work for its client resulted in a $2,823.45 origination fee for Defendants),

56. Second, Defendants appreciated the benefit, as evidenced by the fact they were expressly

aware that Plaintiff was acting as agent for its client’s PPP loan application. FAC at ¶¶ 49-51.

Third, equity and good conscience support Plaintiff’s claim. Defendants received handsome

payment for issuing no-risk loans, a portion of which payment was specifically allocated for

agents. Defendants have unfairly retained the portion of the fees that rightfully belongs to Plaintiff,

who was indispensable to the submission of PPP loan applications and Congress’ intent to get

businesses money expeditiously. FAC at ¶¶ 31, 36, 52.

        Defendants’ suggestion that Plaintiff was a mere “volunteer” is demonstrably false.

Defendants were aware of Plaintiff’s involvement in its client’s PPP application and were aware

that Plaintiff requested agent fees through her client, to which she is rightfully entitled. FAC at ¶¶

48-51. In fact, the loan application submitted to Defendants specifically asked whether an agent

assisted in the preparation of Plaintiff’s client’s application. FAC at ¶ 50. Plaintiff was also bound

by its ethical duties to its client not to abandon the client’s application. FAC at ¶ 52. Thus,

Defendants’ reliance on Martin v. Little, Brown, & Co., 450 A.2d 984, 988 (Pa. Super. Ct. 1981)

is unavailing given that Plaintiff was not a “volunteer”; her services were sought by borrowers and




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were indispensable to Congress’ intent.

       Finally, Defendants’ argument that Plaintiff “should have been aware” that she would not

be paid agent fees must be rejected because it is based on extrinsic documents—namely, an

industry document, ECF No. 19-2—which cannot be considered on a Rule 12(b)(6) motion to

dismiss.13 Schmidt v. Skolas, 770 F.3d 241, 249 (3d Cir. 2014). In any event, the document warns

there is a “possibility” that agents may not be paid—not whether that refusal is justified. Indeed,

under Defendants’ logic, the possibility of a person unjustly enriching themselves would work to

preclude every possible unjust enrichment claim.

               3.      Defendants have converted Plaintiff’s fees.

       The elements of a claim for conversion are: “(1) deprivation of another’s right of property

in, or use or possession of, (2) a chattel, (3) without the owner’s consent, and (4) without lawful

justification.” Lankard v. Laurel Mountain Midstream Operating, LLC, No. 1367 WDA 2016,

2017 WL 2539844, at *8 (Pa. Super. Ct. June 12, 2017). It is well established that “[m]oney can

be the subject of conversion.” Spector Gadon & Rosen, P.C. v. Rudinski, Orso & Lynch, 2020 PA

Super 91 (Pa. Super. Ct. Apr. 7, 2020). Plaintiff alleges each element: (1) an immediate and

superior right to the agent fees in question, (2) Defendants are withholding those fees in deprivation

of Plaintiff’s rights, (3) without consent, and (4) without lawful justification. FAC at ¶¶ 96-103.

Defendants primarily rely on Sport & Wheat to argue that Plaintiff has no statutory right to agent

fees and, therefore, has not adequately pled a conversion claim. Mot. at 16. However, Sport &

Wheat is distinguishable in this regard for the reasons discussed above, supra § I.A.



13
  Although there are two narrow exceptions to this rule under the judicial notice and incorporation
by reference doctrines, Defendants do not and cannot claim that either these narrow exceptions
apply to this document. See Fed. R. Civ. P. 201(b); Schmidt, 770 F.3d at 249. The document itself
provides ample reason to disregard it at this stage, given that it cautions that its contents are “non-
authoritative.” ECF No. 19-2 at 10.

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                4.      Defendants have misappropriated Plaintiff’s labor.

        Defendants assert that Plaintiff’s misappropriation claim fails because Pennsylvania does

not recognize the tort of the misappropriation of funds. Mot. at 17. However, Plaintiff alleges that

Defendants misappropriated Plaintiff’s labor and skills, and in Pennsylvania, the misappropriation

of “the skill, expenditures and labor of another” is an actionable tort. Centennial Lending Grp.,

LLC v. Seckel Capital, LLC, No. 822 EDA 2016, 2017 WL 4861625, at *9 (Pa. Super. Ct. Oct. 26,

2017).14 Thus, Plaintiff does not merely allege the misappropriation of funds, but also Plaintiff’s

labor and skills in assisting its client with its PPP application, which resulted in Defendants obtaining

and subsequently withholding Plaintiff’s agent fees.15 FAC at ¶¶ 104-108.

        Alternatively, Defendants argue that Plaintiff’s misappropriation claim is subsumed by her

conversion claim by relying on a misreading of Yandrisovitz v. Ohio State Life Ins. Co., No. 5:18-

CV-1036, 2018 WL 4203840, at *3 (E.D. Pa. Aug. 31, 2018). The Yandrisovitz court’s dismissal of

plaintiff’s misappropriation claim was due to plaintiff’s misappropriation claim being one for funds,

and not primarily because it “duplicate[d]” the plaintiff’s conversion claim. Id.

        C.      Plaintiff adequately alleges violations of Pennsylvania’s UTPCPL

        Plaintiff alleges actionable claims under Pennsylvania’s Unfair Trade Practices and

Consumer Protection Law (“UTPCPL”), 73 P.S. § 201-1, et seq., because Plaintiff alleges

Defendants committed unfair or deceptive practices by unlawfully withholding PPP agent fees

from Plaintiff, resulting in Plaintiff sustaining ascertainable losses. FAC at ¶¶ 83-90.



14
   Plaintiff acknowledges that the misappropriation claim is more aptly dubbed, “unfair
competition.” Plaintiff is amenable to renaming this claim to avoid any potential confusion.
15
   Accordingly, Defendants’ citations regarding the “misappropriation of funds” are inapplicable.
See Story v. Citizens Bank, No. CV 17-29, 2017 WL 3173034, at *1 (W.D. Pa. June 28, 2017)
(plaintiff alleged bank deducted from her account twice, and made no allegation regarding
misappropriation of labor); Wen v. Willis, 117 F. Supp. 3d 673, 677, 683 n.3 (E.D. Pa. 2015)
(plaintiff alleged defendants misappropriated money, not labor, invested with defendants).

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       Defendants challenge Plaintiff’s standing to bring a UTPCPL claim by offering a narrow

construction of the statute’s private action provision. Mot. at 15. It is true that the UTPCPL

provides a cause of action for “[a]ny person who purchases or leases goods or services . . . and

thereby suffers any ascertainable loss of money or property, real or personal, as a result of the use

or employment by any person of a method, act or practice declared unlawful.” 73 P.S. § 201-9.2.

However, a “plaintiff need not be in direct privity with a defendant to bring an action under the

UTPCPL for the defendant’s wrongful conduct.” Johnson v. MetLife Bank, N.A., 883 F. Supp. 2d

542, 547 (E.D. Pa. 2012). Rather, standing is conferred on “those specifically intended to rely upon

the fraudulent conduct[] and those whose reasonable reliance was specially foreseeable.” Id. at

547-48. Here, while Plaintiff was not in direct privity with Defendants regarding the PPP loan

applications, Plaintiff’s assistance with its client’s loan applications—the purchase of mass-

marketed services from Defendants (FAC at ¶¶ 9, 38 (Defendants issued more than 70,000 PPP

loans))—was not only foreseeable as evidenced by the statutory and regulatory framework of the

CARES Act, it was actually known by Defendants, who nonetheless withheld Plaintiff’s agent

fees. Id. at ¶¶ 48-51. Thus, Plaintiff has standing to bring a UTPCPL claim. Additionally, these

reasons undercut Defendants’ additional argument that Plaintiff’s reliance was unjustifiable.

III.   Plaintiff May Seek Declaratory Relief

       Because Plaintiff alleges valid state-law claims, as set forth above, Plaintiff may seek a

declaratory judgment under the Declaratory Judgment Act. See, e.g., Chicago Pneumatic Tool Co.

v. Ziegler, 151 F.2d 784, 788 (3d Cir. 1945).

                                         CONCLUSION

       For the foregoing reasons, the motion to dismiss should be denied.

Dated: September 14, 2020                                     Respectfully submitted,



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                               CERTIFICATE OF SERVICE

       I, Kenneth J. Grunfeld, Esquire, hereby certify that on this 14th day of September 2020,

the foregoing was filed via the Court’s CM/ECF Filing System.



 Dated: September 14, 2020                          Respectfully submitted,

                                                    /s/Kenneth J. Grunfeld
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